  Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 1 of 13 Page ID #:141


                                     UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


Notorious B.I.G. LLC, a                                                   CASE NO. 19-cv-1946JAK(KSx)
Delaware limited liability company                                          ANSWER and
            Plaintiff,                                                    AFFIRMATIVE DEFENSE

    vs.

Yes. Snowboards, Nidecker Group,
Chi Modu, an individual,
           Defendants,




CHI MODU'S ANSWER
SUNIMARY OF ACTION
1.Denies having knowledge or information sufficient to form a belief as to the truth or

falsity and refers all questions oflaw to the court.
2.. Denies having knowledge or information sufficient to form a belief as to the truth or

falsity and refers all questions oflaw to the court.

3. Denies having knowledge or information sufficient to form a belief as to the truth or

falsity and refers all questions of law to the court.

4. Denies having knowledge or information sufficient to form a belief as to the truth or

falsity and refers all questions oflaw to the court.

5. Denied.

6. Denied
  Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 2 of 13 Page ID #:142


7.Denied.


8. Denied.

9.Denied.




THE PARTIES

10. Denies having knowledge ar information sufficient to form a belief as to the truth or

falsity and refers all questions of law to the court.

JURISDICTION AND VENUE

1 1. Chi admits he is subject to personal jurisdiction in the State of California.

12. Denies having knowledge or information sufficient to form a belief as to the truth

or falsity and refers all questions oflaw to the court.

13. Denies having knowledge or information sufficient to form a belief as to the truth

or falsity and refers all questions oflaw to the court.

14. Denied.


15. Denied.

16. Denies this venue is proper on the grounds plaintiffs assert.

17. Denied.

FACTUAL ALLEGATIONS Plaintiffs And Their Business

18 Denies having knowledge or information sufficient to form a belief as to the truth

or falsity and refers all questions oflaw to the court.

19. Denies having knowledge or information sufficient to form a belief as to the truth
  Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 3 of 13 Page ID #:143


or falsity and refers all questions oflaw to the court.

20. Denies having knowledge or information sufficient to form a belief as to the truth

or falsity and refers all questions oflaw to the court.

21. Denies having knowledge or information sufficient to form a belief as to the truth

or falsity and refers all questions oflaw to the court.

22. Denies having knowledge or information sufficient to form a belief as to the truth

or falsity and refers all questions oflaw to the court.

23. Denied.


COMPLAINT

Defendants And Their Infringing Activities

24. Denied.

25. Denied

26.Denied.

27.Denied.

28. Denied.

29. Denies the plaintiff's claim he infringed but admits that plaintiffs sent

Chi a cease and desist letter while negotiating a license for Chi's copyrighted photos.

Plaintiffls Harm

30. Defendants reallege and reinstate herein each and every answer contained in Paragraphs 1-29 as if fully set forth
  Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 4 of 13 Page ID #:144


31.Denies having knowledge or information sufficient to form a belief as to the truth

or falsity and refers all questions oflaw to the court.

32. Denied.

33. Denied.

34. Denied.

35. Denied.

36. Denied.

37. Denied

38. Denied.

39. Denied.

40. Denied.

41. Denied.

42. Denied.

SECOND CAUSE OF ACTION TRADEMARK INFRINGEMENT

43. Defendants reallege and reinstate herein each and every answer


contained in Paragraphs 1-42 as if fully set forth herein.

44. Denies having knowledge or information sufficient to form a belief as to the truth or

falsity and refers all questions oflaw to the court.

45. Denied.

46. Denied.

47. Denied.
  Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 5 of 13 Page ID #:145


48. Denied.


49. Denied.


50. Denied.


51. Denied.

THIRD CAUSE OF ACTION VIOLATION OF CALIFORNIA STATE UNFAIR COMPETITION LAW




52. Defendants reallege and reinstate herein each and every answer

contained in Paragraphs 1-52 as if fully set forth herein.


53.Denied.

54. Denied


55. Denied.


56. Denied


57. Denied.


58. Denied.

FOURTH CAUSE OF ACTION: VIOLATION OF NEW JERSEY RIGHT OF PUBLICITY LAWS



59. Defendant reallege and reinstates herein each and every allegation contained in Paragraphs 1-58 as if


fully set forth herein.


60. Denies having knowledge or information sufficient to form a belief as to the truth or


falsity and refers all questions oflaw to the court.


61. Denies having knowledge or information sufficient to form a belief as to the truth or
  Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 6 of 13 Page ID #:146


falsity and refers all questions oflaw to the court.

62. Denied.

63. Denied.

64. Denied.

66. Denied.

67. Denied.

68. Denied.

FIFTH CAUSE OF ACTION UNJUST ENRICHMENT



69. Defendant reallege and reinstate herein each and every answer

contained in Paragraphs 1-68 as if fully set forth herein.

70. Denied.

71. Denied

72. Denied.

73.. Denied.

74. Denied.

75. Denied.
Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 7 of 13 Page ID #:147




                            AFFIRMATIVE DEFENSE
Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 8 of 13 Page ID #:148



                                  FIRST AFFIRMATIVE DEFENSE

                                      (Failure to State a Claim)

 The compliant, and each claim alleged therein, fails to state a claim upon which relief can be granted.


                              SECOND AFFIRMATIVE DEFENSE

                                          (Lack of Standing)

 BIG parties are barred from seeking any relief in this action because of lack of standing.


                               THIRD AFFIRMATIVE DEFENSE

                                        (Valid Competition)

Some or all of the claims for relief in the complaint are barred because the conduct alleged by BIG
was privileged to the extent that CHI may be considered a competitor of BIG and the actions alleged
concern matters within the scope ofsuch privilege.


                             FOURTH AFFIRMATIVE DEFENSE

                        (Intent to Injure Competition/Restraint of Free Trade)

BIG parties have used, and continue to use, property rights they may have, the existence of which
are specifically denied, with the intent and result of restraining trade and of injuring competition,
such that the BIG' Parties alleged rights are unenforceable in this action.
Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 9 of 13 Page ID #:149




                             FIFTH AFFIRMATIVE DEFENSE

                            (Caches, Acquiescence and Estoppel)

BIG' claims in the COMPLAINT are barred by the doctrines of lathes, acquiescence and estoppel.


                                SIXTH AFFIRMATIVE DEFENSE

                                        (Unclean hands)

The claims asserted in the COMPLAINT are barred by the doctrine of unclean hands.


                              SEVENTH AFFIRMATIVE DEFENSE

                               (Nominative Fair Use)

      Any use by Respondent of any alleged property rights of BIG is a fair use.


                            EIGHTH AFFIRMATIVE DEFENSE

                                         (No Damages)

BIG have stated any claim against CHI,BIG are entitled to no relief as BIG have suffered no
damages as a result ofthe alleged actions ofCHI.




                            NINTH AFFIRMATIVE DEFENSE

                                        (Innocent Intent)

CHI infringed any rights of BIG, which rights are specifically denied, then CHI did so with
innocent intent.

                               TENTH AFFIRMATIVE DEFNESE

                                    (Selective Enforcement)

1. The COMPLAINT,and each claim alleged therein, is barred and/or at least limited by the doctrine
of selective enforcement as BIG have not pursued others similarly situated to CHI.
Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 10 of 13 Page ID #:150



                             ELEVENTH AFFIRMATIVE DEFENSE

                        (No Right to Statutory Damages or Attorneys' Fees)

Any and all claims by BIG to statutory damages and/or attorneys fees are barred under 17 U.S.C. §
412(2) since BIG did not register any alleged interests prior to the alleged actions of CHI or within
three(3)months after first publication.




                                TWELTH AFFIRMATIVE DEFENSE

                                              (Waiver)

 Any and all claim to damages by BIG must be barred or at least reduced under the doctrine of
 waiver.


                         THIRTEENTH AFFIRMATIVE DEFENSE

                             (Fraud and Inequitable Conduct)

 Any and all claims by BIG are barred or limited as a result of BIG's fraud and inequitable
conduct.



                             FOURTEENTH AFFIRMATIVE DEFENSE

                                    (No Likelihood of Confusion)

    There is no likelihood of confusion.


                              FIFTEENTH AFFIRMATIVE DEFENSE

                                           (No Passing-Ofd

   There has been no passing-off.
Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 11 of 13 Page ID #:151




                               PROOF OF SERVICE

       I am employed in the County ofEssex, State of New Jersey. I am over the
 age of 18 and not a party to the within action. My business address is 536 Broad
 Street, Newark, New Jersey 07102.

       On April 19, 2019,I served the foregoing documents described as:

       • Affirmative Defense Case No. CV 19-1946 JAK(K5x)

 on the parties in this action by serving:

 Staci Jennifer Riordan Esq.                 Attorneys for Plaintiff
 NIXON PEABODY LLP                           NOTORIOUS B.I.G. LLC,
 One California Plaza
 300 S. Grand Avenue, Suite 4100 Los
 Angeles, California 90071

(E) sriordan@nixonpeabody.com




 Q By Mail: As follows: I am "readily familiar" with this firm's practice of
   collection and processing correspondence for mailing. Pursuant to that practice
   the mail is stamped with sufficient postage and then provided to the U.S. postal
   service on that same day in Los Angeles, California..

 By Fedex Overnight: I caused the envelopes)to be delivered to the UPS drop off
 office located at 338 Palisade Ave., Jersey City, NJ 07306
    XX for delivery on the next-business-day basis to the offices ofthe
    addressee(s).




                                    PROOF OF SERVICE
Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 12 of 13 Page ID #:152




 Q By Email Electronic Transmission: I caused the documents to be sent to the
   persons) at the email address(es). I did not receive, within a reasonable time
   after the transmission, any electronic message or other indication that the
   transmission was incomplete or unsuccessful.

        I declare under penalty ofperjury under the laws ofthe State of California
 that the foregoing is true and correct. Executed on April 11, 2019 at Jersey City,
 New Jersey




                                                     -    ~►    ~~~




                                  PROOF OF SERVICE
                                                    .
r            ely ~tJ~ ~e~~t                                                                                                                           This envelope is for use with the following services: 115 ~eu~ IDa~ ~►~~°-
                                                                                                                                                                                                                                                                                                                                    ~~~
                                                                                                                                                                                                            UPS Vll~~~dr~ri~~ Exp~~ess`~                                                                                            ~---                                                                            R
                                                                                                                                                                                                            SIPS 2nd ~~~t /~4~~ .                                                                                                   ~_


                                                                                                                                                                                                                                                                         f~~e~r~ ~~i~~~r~~ ~~cum~nts
lo~~~uh~ ~ ~pu~l~u~~ ~U ~i~~ ~ s~~~~ ~f~ V~~~tum~n iro~~~ ~~v.                                                                                                                                                                                                               ~~ ~~~ ~~rr from the top,
sir ~,;,~~~,x~
iali~i~r'for!~9a~ ~-"~~ =~<~ '~~~"~ Fx~ue~s'~t~ue~~~e=_ ~m~y ~o.rly ~co.n~taan                                                                                                                                                                                          I~~ ~~~ a~K~ 4~u~ ~~a~~n~~ ~oU:
~,punsl~~nsre a                                                         -      _
I~ 8 Paz. aid Des                                                                                                                                                                                                                                                       ~u''~'~ ~~f~?lilll~~
a         c~ Sara                                                                                                                                                                                                                                                                    ~           ~'d

311      1                                                   ~~
                                                              y•                r
                                                                                C
                                                                                ~'„                                                 ~
                                                                                                                                    ~3 {~..1           •''yam.. ~'~'
                                                                                                                                                                   w~ ~,w~
                                                                                                                                                                                 ~.is                                                               ~N ~"~          ~                Vmr~~Wide Ex~e~~t~~'
             ASS                                            ~                   Z
                                                                                                                                    ['~      V           ~~~'••:~ yN•M = J
                                                                                                                                                                                                               N              ~~
                                                                                                                                          HJ               ~:p O             ~~._                                          ~N~-ib                   K
:IOJAA,~~lA9j~1T~V                                          ~                   ~                                                                                                                              ~
                                                                                                                                                                                                               ~.11                                 y ~~w
                                                                                                                                                                                                                                                       ~~
                                                                                                                                                                                                                                                       N
                                                                                'd                                                 ~ . ~I               ~f .a,,+~ ~'                   ?                ~ ~~ y ~s O                                 ~~~0
                                                            (''~                                                                                                                                               '~~ ~
                                                                                                                                                                                                                   ~~~ wZ ~                         Z,'rNa
                                                                                                                                                                 ~,,~
                                                                                                                                                      • •, "Y~=
~PE'S'S ~'II~A/                                            ~                                                                           11.. ~J        ~'N
                                                                                                                                                        ~.~             ~~~                                   ~
                                                                                                                                                                                                              C~1+ .~     ~ ~ r"3
             ~                                             ~                                   ~~~                                 I-~ ,Xj            ~ w,'
                                                                                                                                                          W
                                                                                                                                                          r`' - v'? i
                                                                                                                                                                    .~.                                                                             V ~ '~'d

                                                                                                                                                                                                                                                     ~~
t&~9 ' 31    _                                             ~,                                                                      ~ ~y                                                                               /~ ~         ~                V~y
~ eq~i~ a'~'                         ~                     ~                                                                      u, V
                                                                                                                                                                                                      r_~~~ .                                         o
                                                                                                                                                                                                      t~  d
                                                                                                                  "~                  v                                                               C/~            ~y
                                                                                                                                  ~o
                                                                                                                                   , F~
                                                                                                                                  W
                                                    ^'                                                                            ~o
                                                                                                                                  o -~                ~~~
                                                                                      ~~..,~
                                                                                                                                 rn                                                                  ~                    O                                    ~
                                                   a                                       ~ ~                                                                                                       p                    ~                                r
                                                   Y                                       --- Q                                                                                                     O                    ~                                ~
                                                                                                                                                     ~~
                                                                                                                                                     ~..~-- ~                                                                                              v~
                                                   S                                                                                                                                                N
                                                   o
                                                                                      .~.~ ~ =
                                                                                             — ~                                                                                                                     +~
                                                                                        —~     ~
                                                                                                                                                                                                                       A ,~ ~~
                                                                                                                                                                                                                       ~,
                                                                                                                                                                          [V                                              ., ~ ~~.~,■,
                                                                                                                                                                                                                 ,        _~




                            ~-                                                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                             ,,.,
                                                                                                                                                                                                                                                               '-- ----                                                              1
                                                                                                                                                                                                                                                                                                                  m ~~E~e~~~;   ~
                                                                                                                                                                                                                                ~~~r~~a~ yon for ~~~~e ~~~~ ~ ~~D yQ~~~
                                                                                                                                                                                                                                               I~~~~~~ '~aa~e~ ~~rerrce.
                                                                                                                                                                                                                                                                                                                                           Case 2:19-cv-01946-JAK-KS Document 19 Filed 04/22/19 Page 13 of 13 Page ID #:153




                                                                                                                                                                                                                                                                                                                                     e
m1~4i4gpic~ IAlal~e—~Cacdiage IG~er~euciiLer acia~y _lee sllbje~ 20 ¢tie stiles rt~elaEuig 6o I[iabitiS~ sail either tleoms amd~mr am~ifi~ns ~stzbliSheil Iby ~6e ~uan6Aoe @~r mhe N~~i[f~bisim ai 2~r~taiu~ Ifd~[les IRelabing 6o Ilatenmzliamaf Qaotlage iby,{Au ~mhe "~kVarsa~w ~io~a~aw~imn"'~ ~rdl~~r   __
                     __             _ _                                  Iby                                   _ —_ ~.mumeil[Gtie~, tt~edhmoleng~y sir geddwuar~ auar~ ~peiAGeG Hda~mCEIU..~ un awondam~ avt~@M I~E~e IFagpoM/md~im~r~liun I~eg&ika,o~:rts:~nuaraian amm~r~~Vim~~a~nr jpn~ritiitia~L
~rtian aan rthe ~ntraffi 6,ar dl,~e Ilu[tenro~ianrdl ~anoiage ~.f ~ionds     I&e~ad
                                                                               _ ~~lae "'~t51&~mven➢~e~.n"~1.IDk~ese
